Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 1 of 6

EXHIBIT B

MULTIPLE SOURCE DRUGS IDENTIFIED IN
APPENDICES A AND B TO THE AMCC"

ABBOTT A-Methapred (methylprenisolone sodium
succinate)

Aminosyn (amino acid)’

Ery-tab (erythromycin, enteric coated)
Erythromycin (erythromycin base}
Liposyn II (fat emulsion)’
acetylcysteine

acyclovir sodium

amikacin sulfate

cimetidine hydrochloride
clindamycin phosphate

dextrose sodium chloride

dextrose

diazepam

fentanyl citrate

furosemide

gentamicin sulfate

heparin sodium/ heparin lock flush
leucovorin calcium

lorazepam

sodium chloride

tobramycin sulfate

vancomycin hydrochloride

ASTRAZENECA Nolvadex (tamoxifen citrate)
Zestril (lisinopril)
AVENTIS Calimar (calcitonin salmon)

Cardizem (diltiazem)
Gammar (immune globulin)
Intal (cromolyn sodium)

’ For certain companies, the products listed here are currently multi-source but may not have been multi-
source throughout the entire period covered by the AMCC, Furthermore, A number of companies do not
manufacture but have at least distributed for a period of time the listed drugs.

* This nutritional product is included in this chart because it has therapeutic equivalents, however,
nutritional products are reimbursed under Medicare Part B under a separate fee schedule not tied to AWP.

> This nutritional product is included in this chart because it has therapeutic equivalents, however,
nutritional products are reimbursed under Medicare Part B under a separate fee schedule not tied to AWP.
Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 2 of 6

Trental (pentoxifylline)
BAXTER Ativan (lorazepam)

Bebulin VH (factor ix)
Buminate (albumin (human))
Clarofan (cefotaxime sodium)"
Gammagard S/D (immune globulin)
Gentran (dextran)

Holoxan (ifosfamide)
Iveegam EN (immune globulin)
Osmitrol (mannitol)
Recombinate (factor viii)
Travasol (amino acids)
Vancocin HC] (vancomycin
hydrochloride)

cisplatin

dextrose

dextrose sodium chloride
doxorubicin HC]

gentamicin

heparin

sodium chloride
BOEHRINGER acyclovir sodium

amikacin sulfate

cytaribine

doxorubicin hydrochloride
etoposide

leucovorin calcium
methyltraxate sodium
mitomycin

vinblastine

vinblastine sulfate

dextrose

B. BRAUN® dextrose in lactated ringers

* Plaintiffs’ Appendix B incorrectly lists the generic name for Clarofan as “cephalosporin (systemic).”
Plaintiffs’ Appendix A has the correct generic name (cefotaxime sodium),

* Plaintiffs’ Appendix B incorrectly lists this drug’s name as “Travenol,” a product which does not exist.
Appendix A correctly describes the drug as “Travasol.” This nutritional product is included in this chart because it
has therapeutic equivalents, however, nutritional products are reimbursed under Medicare Part B under a separate
fee schedule not tied to AWP.

ii
Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 3 of 6

dextrose w/ sodium chloride
heparin sodium (porcine) in d5w
sodium chloride

sodium chloride (gu irrigant)
Blenoxane (bleomycin sulfate)

BMS Buspar (buspirone hel)

Coumadin (warfarin sodium)
Cytoxan (cyclopho-sphamide)
Glucophage (meformin hcl)

Rubex (doxorubicin hcl}

Taxol (paclitaxel)

Vepesid (etoposide)

amikacin sulfate

amphotercin b

acetylcysteine

DEY albuterol/albuterol sulfate

cromolyn sodium

ipratropium bromide

metaproterenol sulfate

vinblastine sulfate

FUJISAWA acyclovir sodium

dexamethasone sodium phosphate
doxorubicin hydrochloride
fluorouracil

gentamicin sulfate

Nebupent, Pentam 3000 (pentamidine
isothianate)

Lyphocin (vancomycin hydrochloride)
Lanoxin (digoxin)

GSK Navelbine (vinorelbine tartrate)
Zovirax (acyclovir/acyclovir sodium)
Ceftin tablets (cefuroxime axetil)
Ventolin HFA (albuterol sulfate)
Wellbutrin (bupropion hcl)

Zantac tabs (rantidine hydrochloride)
leucovorin calcium

IMMUNEX methotrexate sodium

Clorazil (clozapine)

° As shown in B. Braun of America Inc.'s Memorandum in support of its Motion to Dismiss the AMCC,
and the accompanying Declaration, B. Braun of America Inc. has not manufactured any of the drugs referenced in
the AMCC or Appendices A or B.

ili
Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 4 of 6

Combipatch (estradiol & norethindrone
acetate)

Estraderm (estradiol)

Parlodel (bromocriptine mesylate)
Ritalin (methylphenidate hcl)
Ritalin LA (methylphenidate hcl)’
Tegretol (carbamazepine)

Vivelle (estradiol)

Vivelle - DOT (estradiol)

Accupril (quinapril hydrolchloride)
PFIZER Cardura (doxazosin mesylate)
Estrostep FE (norethindrone-ethinyl
estradiol-fe)

Femhrt 1/5 (ethinyl estradiol
norethindrone acetate)

Adriamycin (doxorubicin hcl)
PHARMACIA Adrucil (fluorouracil)

Amphocin (amphotericin)
Cleocin-T (clindamycin phosphate
(topical))

Cytosar-U (cytarabine)
Depo-Testosterone (testosterone
cypionate)

Neosar (cyclophosphamide)
Solu-Cortef (hydrocortisone sodium
succinate)

Solu-Medrol (methylprednisone sodium
succinate)

Toposar (etoposide)

Vincasar (vincristine sulfate)
bleomycin sulfate

clotrimazole

SCHERING-PLOUGH GROUP® griseofulvin ultramicro crystalline
oxaprozin

perphenazine

theophylline

albuterol

’ This form of Ritalin is included in Plaintiffs’ Appendix A, but not Appendix B.

* Warrick is the company within what Plaintiffs describe as the “Schering-Plough Group” that
manufactures these multiple source products.

iv
Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 5 of 6

mi
sodium chloride
ismn
potassium chloride
sulcrafate
acyclovir sodium
SICOR amikacin sulfate
amphotericin b”
doxorubicin hydrochloride
etoposide
leucovorin calcium
pentamidine isethionate
tobramycin sulfate

dexamethasone acetate
WATSON dexamethasone sodium phosphate
diazepam

estradiol

gentamicin sulfate
lorazepam

propanolol hel
ranitidine hel
vancomycin hel
fluphenazine hcl
gemfibrozil
imipramine hel
nadolol

perphenazine
verapamil hcl

° This drug appears in Plaintiffs’ Appendix B, but not Appendix A.

v
Case 1:01-cv-12257-PBS Document 468-3 Filed 08/13/03 Page 6 of 6

CERTIFICATE OF SERVICE

I certify that on August 1, 2003, a true and correct copy of the foregoing Consolidated
Memorandum in Support of Defendants’ Motion to Dismiss the Amended Master Consolidated
Complaint was served on all counsel of record by electronic service pursuant to Paragraph 11 of

Case Management Order No. 2 by sending a copy to Verilaw Technologies for posting and

Btn fo L

Juliet S. Sorensen

notification to all parties.

